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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


     MARTY STOUFFER and                         )
     MARTY STOUFFER PRODUCTIONS, LTD;           )
                                                )
               Plaintiffs,                      )
                                                )
     v.                                         )   CASE NO. 1:18-cv-03127-WJM-GPG
                                                )
     NATIONAL GEOGRAPHIC PARTNERS, LLC;         )
     NGSP, INC.;                                )
     NGHT, LLC, d/b/a NATIONAL GEOGRAPHIC       )
      DIGITAL MEDIA;                            )
     NGC NETWORK US, LLC; and                   )
     NGC NETWORK INTERNATIONAL, LLC;            )
                                                )
                Defendants.                     )
                                                )
                                                )




            DEFENDANTS’ REPLY MEMORANDUM IN SUPPORT OF THEIR
            RULE 12(b)(6) MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
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                                            INTRODUCTION

           This case directly implicates NatGeo’s First Amendment right to title its programs in an

    artistically relevant, non-misleading manner.1 Yet Stouffer insists that the Court should ignore

    the well-settled Rogers test – which was developed precisely to ensure that the Lanham Act is

    not used to quash the constitutional right of free speech in cases such as this one. Instead,

    Stouffer argues that the Court should look only to the traditional likelihood of confusion factors.

    He is wrong. He is similarly incorrect when he asserts that it is “premature” to decide, under

    Rogers or otherwise, the issues in this case at the pleadings stage. The Complaint contains all of

    the facts the Court needs to determine, right now, that the Lanham Act cannot be used to enjoin

    the titles of the NatGeo Programs. The same is true for Stouffer’s unfair competition and

    copyright claims. On those, the Court should preclude Stouffer’s attempt to cobble together a

    hodge-podge of wholly unprotectable elements into trade dress and copyright claims. As

    discussed below, and at length in NatGeo’s Motion to Dismiss (ECF #23), all of Stouffer’s

    claims should be dismissed with prejudice.

                                              ARGUMENT

           I.      STOUFFER’S CLAIMS CONCERNING THE TITLES SHOULD BE
                   DISMISSED UNDER THE ROGERS TEST AT THE PLEADINGS STAGE.

           Stouffer insists that there is a likelihood of confusion between his WILD AMERICA

    mark and the titles of the NatGeo Programs, and that therefore his trademark claims cannot be

    dismissed at the pleadings stage. However, there is simply no reason for the Court to go through

    the six-factor likelihood of confusion analysis when the Complaint is clear that the titles of the



    1      Capitalized terms used herein are defined in NatGeo’s Motion to Dismiss (ECF #23).


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    NatGeo Programs are protected by the First Amendment. The Court should apply the well-

    reasoned and well-settled Rogers test and dismiss Stouffer’s claims concerning the titles of the

    NatGeo Programs. Doing so now, on a Rule 12(b)(6) motion, is not only not premature, but

    favored under these circumstances.

                   A.      The Court Should Apply the Rogers Test.

           This Court, like so many others, should look to the test first set forth in Rogers v.

    Grimaldi to consider the question of whether the Lanham Act should be permitted to trump

    NatGeo’s First Amendment rights. Rogers v. Grimaldi, 875 F.2d 994, 999 (2nd Cir. 1989).

    Under the Rogers test, the Lanham Act cannot apply “to expressive works unless the use of the

    trademark or other identifying material has no artistic relevance to the underlying work

    whatsoever, or, if it has some artistic relevance, unless the trademark or other identifying

    material explicitly misleads as to the source or the content of the work.’” Twentieth Century Fox

    TV v. Empire Distrib., Inc., 875 F.3d 1192, 1197 (9th Cir. 2017) (citing Rogers v. Grimaldi, 875

    F.2d 994, 999 (2nd Cir. 1989)) (internal quotations omitted).

           Stouffer’s insistence that the Tenth Circuit would rely only on a traditional likelihood of

    confusion analysis to address First Amendment concerns is misplaced. 2 This Court has itself

    stated that the Rogers standard is “accepted doctrine” and cited its application to news

    publications. U.S. Olympic Comm. v. Am. Media Inc., 156 F. Supp. 2d 1200, 1209-10 (D. Colo.

    2001). In U.S. Olympic Comm., the defendant did not even assert a Rogers defense, but this

    Court noted sua sponte that the Rogers test “could be applied to determine whether [defendant’s]


    2       In adopting Rogers, this Court would be joining an already impressive list of its sister
    courts around the country which apply the Rogers test to provide critical protection for the First
    Amendment right of free speech. (See numerous citations in Motion to Dismiss, p. 8)


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    use of USOC’s alleged marks in OLYMPICS USA either falsely denotes affiliation with or

    endorsement by the USOC or explicitly misleads the public about the content of the magazine.”

    Id.

           Stouffer cites to Cardtoons – a case which strongly supports NatGeo’s position – for the

    proposition that the Tenth Circuit would not consider it necessary to apply Rogers in the context

    of trademark disputes. This is a significant overstatement of the court’s ruling. The Cardtoons

    case concerns the “right of publicity.” Cardtoons, L.C. v. Major League Baseball Players Ass’n,

    95 F.3d 959, 962 (10th Cir. 1996). In dicta, the court notes that there are separate tests for

    protecting parodies in the trademark and copyright context. Id. at 970. The case at bar, by

    contrast, is not about parodies. Rather, it concerns the titles of expressive works – exactly the

    scenario in which courts typically apply the Rogers test. See, e.g., Empire, 875 F.3d at 1197-98.

           Stouffer also cites Utah Lighthouse to support his position that the 10th Circuit would not

    follow Rogers. Utah Lighthouse Ministry v. Found. For Apologetic Info. & Res., 527 F.3d 1045

    (10th Cir. 2008). Stouffer gives an overly limited reading to this case as well. In fact, it does not

    appear that the court in Utah Lighthouse was ever even presented with an argument that the First

    Amendment (let alone the Rogers test) should apply in the case. Instead, the issue before the

    court was whether a parody website could lead to a likelihood of confusion. Utah Lighthouse

    did not address any First Amendment issues, and the court in no way rejected an adoption of the

    Rogers test. To the contrary, the 10th Circuit favorably noted that “[t]he First and Ninth Circuits

    have emphasized that trademark rights cannot be used ‘to quash an unauthorized use of the mark

    by another who is communicating ideas or expressing points of view.’” Id. at 1052-53 (citation

    omitted). This, of course, is exactly what Stouffer is attempting to do here. In no way does Utah



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    Lighthouse support the conclusion that the 10th Circuit would not apply the Rogers test when

    considering whether the Lanham Act should apply to the titles of expressive works.

            Stouffer’s reluctance to admit that the Rogers test is both necessary and appropriate in

    this case is understandable. Simply put, under the Rogers analysis, NatGeo wins. For one,

    Stouffer does not even contest the first element, conceding that the titles of the NatGeo Programs

    are artistically relevant. (ECF #49, Plaintiffs’ Opposition Brief, p.14) (“Resp. Br.”) (“[The titles]

    satisfy the first prong’s very ‘low threshold’ of artistic relevance.”) Stouffer insists, however,

    that the Court cannot decide the second element, i.e., whether the titles explicitly mislead as to

    the source or the content of the work, at the pleadings stage. As discussed in the next section, he

    is incorrect on this point. Stouffer then goes on to argue that even if the Court does apply the test

    on a motion to dismiss, he has pled sufficient facts to overcome a First Amendment defense. On

    this point too, Stouffer is wrong.

            To be considered explicitly misleading, the relevant consideration is whether the

    defendant’s use of the title “is misleading in the sense that it induces members of the public to

    believe [the work] was prepared or otherwise authored by the [plaintiffs].” Twin Peaks Prods. v.

    Publ’ns Int’l, Ltd., 996 F.2d 1366, 1379 (2nd Cir. 1993). In analyzing whether a title is explicitly

    or overtly misleading, the court must ask “whether there was an ‘explicit indication,’ ‘overt

    claim,’ or ‘explicit misstatement’ that caused such consumer confusion.” Brown v. Elec. Arts,

    Inc., 724 F.3d 1235, 1245 (9th Cir. 2013) (citation omitted). “The mere fact that a defendant used

    the plaintiff’s trademark as the title of its work is not sufficient to satisfy this prong; the plaintiff

    must present evidence of an explicit misstatement as to the source of the work.” Empire, 875

    F.3d 1199. (internal citations omitted).



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           Here, three of the four titles do not even include the phrase “Wild America,” and the

    fourth title (Surviving Wild America) adds an additional, distinctive word that describes the

    subject matter of the program.3 NatGeo cannot be found to be using the mark at all, let alone in

    the same manner as Stouffer. The fact that Stouffer alleges that he had a prior relationship with

    NatGeo, and that the NatGeo Programs feature similar themes and ideas and a host with a beard

    is not enough to survive a motion to dismiss on this issue. On the facts alleged (or that ever

    could be alleged) the NatGeo titles simply cannot be found to be explicitly misleading.4

           Stouffer argues that even if the Court applies Rogers, NatGeo is trying to hold him to a

    “mechanical” version of the test supposedly rejected by the Ninth Circuit in Gordon v. Drape

    Creative, Inc. (Resp. Br., pp. 18-19); Gordon v. Drape Creative, Inc., 909 F.3d 257, 268 (9th

    Cir. 2018). As an initial matter, NatGeo never suggested that this Court should not consider “all

    of the relevant facts and circumstances” as instructed in Gordon. To the contrary – NatGeo

    urges the Court to do just that.5

           In Gordon, the defendant used the plaintiff’s mark inside of a greeting card, not as a title.

    See Gordon, 909 F.3d at 268. In remanding for further determination of the “explicitly



    3      As discussed at length in the Motion to Dismiss, the Court should dismiss all of
    Stouffer’s trademark-related claims concerning the titles of the NatGeo Programs. However,
    NatGeo recognizes that the question of whether a particular title is “explicitly misleading” must
    be considered for each title individually.
    4       This is made even clearer when one considers the parties’ respective packaging (Compl.
    ¶¶ 67, 76). NatGeo’s packaging not only does not include any reference to Stouffer or Wild
    America, but prominently uses NatGeo’s famous and distinctive yellow border, clearly indicating
    to consumers that NatGeo is the source of the programs. (Id.)
    5       It is worth pointing out, as the Gordon court did, that on every single prior occasion in
    which the Ninth Circuit applied the Rogers test the court concluded that it barred a trademark
    infringement claim as a matter of law.


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    misleading” prong, the Ninth Circuit distinguished disputes over titles, because “consumers do

    not expect titles to identify the origin of the work.” Gordon, 909 F.3d at 270 (citing Mattel v.

    MCA Records, 296 F.3d 894, 902 (9th Cir. 2002) (internal brackets omitted) (emphasis added).

    In addition to comparing the way the marks are used, the Ninth Circuit emphasized that “a

    second consideration relevant to the ‘explicitly misleading’ inquiry is the extent to which the

    junior user has added his or her own expressive content to the work beyond the mark itself.”

    Critically, the court noted that “[i]n cases involving the use of a mark in the titles of an

    expressive work—such as the title of a movie, a song, a photograph, or a television show, the

    mark obviously served as only one element of the work and the junior user’s artistic expression.”

    Id. at 271 (internal citations omitted). The critical distinctions highlighted by the court in

    Gordon – not to mention that court’s nearly unbroken streak of holding that the First

    Amendment trumps trademark claims – only further underscores exactly why Stouffer’s claims

    should not be permitted to proceed.6

           The titles of the NatGeo Programs are First Amendment expression, and this Court

    should therefore look to Rogers and its progeny – as so many other courts have before – to

    ensure that NatGeo’s rights are protected. The Court should dismiss all of Stouffer’s claims that

    relate to the titles of the four NatGeo Programs.




    6        Reading Stouffer’s brief, one might believe that Gordon was a dispute over the title of a
    television program, i.e., “Law & Order: Special Hip-Hop Unit,” as Stouffer makes no mention
    whatsoever of the actual facts of the case and the disputed line in a greeting card. The Gordon
    court created that hypothetical program title only to suggest how the use of an identical title (one
    that clearly capitalizes on the LAW & ORDER family of marks) might have caused the Empire
    case to have been decided differently. Id. at 270. Here, there can be no allegation that NatGeo’s
    titles are identical to, or in any way refer to Stouffer’s Wild America.


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                   B.      The Court Can and Should Apply the Rogers Test On a Rule 12(b)(6)
                           Motion.

           Stouffer argues that a First Amendment analysis is premature, pointing out that “all but

    two” of the cases cited by NatGeo dismissing trademark claims were decided on a motion for

    summary judgment or preliminary injunction. (Resp. Br., p.14, n. 3). First, the fact that some

    courts have addressed the issue of whether a title is explicitly misleading at later stages of a case

    is of no import when the question can be readily determined on the face of the Complaint, as is

    the case here. NatGeo originally cited two cases, but it is not at all uncommon for courts to

    dismiss trademark claims on Rule 12(b)(6) motions when presented with circumstances

    analogous to those in this case. Doing so prevents the tremendous waste of time and resources

    associated with completely unnecessary discovery.

           For example, less than a month ago, in a case uncannily similar to this one, a district

    court granted a motion to dismiss on First Amendment grounds finding that a series of online

    journalistic videos produced under the Hidden Philadelphia title was protected from trademark

    infringement and trademark dilution claims from the owner of Hidden City Philadelphia

    “[b]ecause the title is ‘artistically relevant’ and does not ‘explicitly mislead’ as to the source or

    content of the videos.” Hidden City Phila. v. ABC, Inc., No. 18-65, 2019 U.S. Dist. LEXIS

    32795 at *12-13 (E.D. Pa. March 1, 2019). In the case, the court found the title was not

    explicitly misleading because “(1) it does not adopt Hidden City’s name –Hidden City

    Philadelphia; (2) the Complaint contains no allegations to suggest Hidden City was affiliated

    with the videos; and (3) the videos themselves appear on the 6ABC website, feature the ABC

    logo, and state they are presented by the Philadelphia Zoo.” Id. at 11.




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            In Medina v. Dash Films, the court found that the leader of a band called “Loisaidas,”

    had failed to state a claim against a film series set to music using the identical title Loisaidas

    because “the work is a film,” and “its title is artistically relevant to its content and not explicitly

    misleading as to any association with plaintiff’s music duo.” Medina v. Dash Films, Inc., No. 15-

    cv-2551, 2016 U.S. Dist. LEXIS 91691 at *16 (S.D.N.Y. July 14, 2016); see also Valencia v.

    Universal City Studios LLC, No. 1:14-cv-00528, 2014 U.S. Dist. LEXIS 174644 at *21-22 (N.D.

    Ga, Dec.18, 2014) (dismissing case when facts alleged were “not sufficient to allow the [c]ourt

    to conclude that the title could explicitly mislead as to the source of the work”); Sporting Times,

    LLC v. Orion Pictures, Corp., No. 1:17-cv-00033, 2017 U.S. Dist. LEXIS 205691 at *13-14

    (W.D. Ky. Dec. 13, 2017) (dismissing various trademark-related claims on a motion to dismiss

    because defendant’s film was an expressive work protected by the First Amendment and there

    was “no suggestion of sponsorship or partnership [with the plaintiff]… much less an ‘overt

    misrepresentation.’”)

            Stouffer’s claims are certainly no better (and in fact are meaningfully weaker) than those

    in the cases discussed above, all of which were dismissed on Rule 12 motions. Nothing that

    Stouffer alleged in the Complaint, or argued in his opposition brief, can change the fact that the

    titles of the NatGeo Programs are artistically relevant and do not explicitly mislead. No

    discovery or “fact gathering” is necessary: everything the Court needs to decide the issue – and

    protect NatGeo’s First Amendment rights – is readily apparent from the Complaint. Stouffer’s

    insistence that the Court delay the First Amendment considerations of this matter is unfounded.

    The Court should address these critical, constitutional issues on the instant Motion.




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           II.     STOUFFER’S UNFAIR COMPETITION CLAIMS RELATING TO HIS
                   PUTATIVE TRADE DRESS SHOULD BE DISMISSED.

           Stouffer argues that NatGeo has “mischaracterized” (Resp. Br., p. 19) his claims of unfair

    competition because those claims, he now says, are the same as his trademark infringement

    claims. (Id.) (“Plaintiffs have successfully pleaded their unfair competition claims by virtue of

    having successfully pleaded their trademark infringement claim.”). To the extent that Stouffer’s

    unfair competition claims are intended to be identical to his trademark claims related to the titles

    of the NatGeo Programs, those claims should be dismissed on the First Amendment grounds

    discussed above and in the Motion to Dismiss.

           But that is not what is alleged in the Complaint. In fact, Stouffer makes repeated mention

    of his purported trade dress rights, and NatGeo’s alleged infringement thereof, in his “Third

    Cause of Action – Federal Unfair Competition.” (Compl., p. 21, and ¶¶ 137, 139).         For

    example, he claims that “the image of two big-horn rams butting head [sic] and host Marty

    Stouffer’s on-screen persona constitute protectable trade dress which has developed an acquired

    distinctiveness or secondary meaning,” and that NatGeo has “misappropriated MSP’s

    protectable trade dress both in the packaging of the Infringing Series . . . and in the overall

    atmosphere of its programming.” (Id., ¶¶ 137, 139) (emphasis added). There is no possible way

    to interpret these allegations other than as a claim for trade dress infringement – NatGeo did not

    “mischaracterize” anything.7 Stouffer accuses NatGeo of “attempt[ing] to confuse the issue,” but




    7       If Stouffer is still asserting claims of trade dress infringement, he has also failed to plead
    the required element that his claimed trade dress is non-functional. See Motion to Dismiss, pp.
    19-20.


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    if these disappearing trade dress claims are confusing, that is Stouffer’s fault, not NatGeo’s.

    (Resp. Br., p. 19).

           Despite not even mentioning the term “trade dress” anywhere in his response brief,

    Stouffer continues to assert protectable rights in completely unprotectable elements, such as (1)

    “Stouffer’s distinctive look and history of raising a bear cub”; (2) “specific filming techniques”;

    and (3) “the iconic imagery in Wild America’s opening credits” of the Wild America program,

    attempting to support the claim on the “totality of all these elements.” (Resp. Br., p. 21). While

    courts certainly may consider the totality of the circumstances in determining unfair competition,

    “a court must have a sufficient number of probative digits of unfairly competitive acts, or it

    cannot total to unfair competition as a matter of law.” See B.H. Bunn Co. v. AAA Replacement

    Parts Co., 451 F.2d 1254, 1263 (5th Cir. 1971). The fact that Stouffer’s list of “unfair” acts are

    common tropes and ideas is highly relevant to, and makes easy work of, the determination that

    all of his trademark-related claims should be dismissed. Indeed, even when these unprotectable

    elements are considered in their totality, as Stouffer insists they must be, the titles of the NatGeo

    Programs could never be considered “explicitly misleading.” (See discussion, supra).

           To the extent Stouffer is still asserting unfair competition or other claims based on trade

    dress infringement those claims should be dismissed. (See Motion to Dismiss, pp. 11-20). If, on

    the other hand, the trade dress allegations are merely to support Stouffer’s infringement claims

    against the titles of the NatGeo Programs, those claims should be dismissed on the First

    Amendment grounds previously discussed.




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            III.    STOUFFER’S CLAIMS OF COPYRIGHT INFRINGEMENT SHOULD BE
                    DISMISSED AT THE PLEADINGS STAGE BECAUSE HE CANNOT
                    CLAIM THAT A SINGLE PROTECTABLE ELEMENT OF THE WILD
                    AMERICA SERIES HAS BEEN COPIED.

            Stouffer concedes, as he must, that a claim for copyright infringement requires a plaintiff

    to prove that a defendant copied “protected elements of the copyrighted work.” (Resp. Br., p. 22)

    (citing Country Kids ‘N City Slicks, Inc. v. Sheen, 77 F.3d 1280, 1285 (10th Cir. 1996) (emphasis

    added)). But he then makes the bold and unsupportable statement that “the analysis to determine

    whether there is a protectable interest is not possible at the Rule 12 stage.” (Id. at p. 22).

    Stouffer then goes on to try and distinguish a case from this Court that did exactly that. (Id. at p.

    25); see Fisher v. United Feature Syndicate, No. 99-1162, 611, 2000 U.S. App. LEXIS 1749 at

    *13-14 (10th Cir. Feb. 7, 2000) (upholding the district court’s finding as a matter of law that the

    use of a detective dog is not entitled to copyright protection).

            Stouffer argues that a determination of what constitutes a protectable interest cannot be

    decided on a motion to dismiss because doing so would require “the court to circumvent the

    [Tenth Circuit’s] abstraction-filtration-comparison test.” (Resp. Br., p. 23). What Stouffer fails

    to realize, however, is that the Court does not need to apply the Tenth Circuit’s test because

    Stouffer has failed to allege that any protectable elements have been infringed. See ITN Flix,

    LLC v. Univision Holdings, Inc., No. 2:15-cv-736, 2016 U.S. Dist. LEXIS 152389 at *15 (D.

    Utah Nov. 2, 2016) (granting motion to dismiss copyright infringement claims “[b]ecause

    Plaintiffs have not alleged that any protectable elements of their film have been infringed, they

    have failed at the first step of the abstraction-filtration-comparison test…”). Contrary to

    Stouffer’s position that it is “not possible,” courts in all eleven circuits have seen fit to dismiss




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    similar copyright claims at the motion to dismiss stage.8 The weight of authority supporting

    dismissal of copyright claims such as these on a motion to dismiss is overwhelming.

           Stouffer argues that a determination of his copyright claim “requires a more fact intensive

    analysis and actual viewing of MSP’s copyrighted Wild America content alongside the [NatGeo

    Programs].” (Resp. Br., p.23). In support, he cites the Ninth Circuit’s decision in Metcalf.

    (Resp. Br., p. 24). Stouffer is not the first plaintiff to try and avoid dismissal by making a

    Metcalf argument and insisting that the court need to review dozens (if not hundreds) of hours of

    television programming to make a determination.9

           For example, in Zella v. Scripps, the plaintiffs claimed the Rachel Ray program infringed

    their copyright in a program called Showbiz Chefs. Zella, 529 F.Supp. 2d at 1138-39. They

    argued that the court could not dismiss their case on a Rule 12 motion because all the episodes of

    the programs were not yet in evidence, and therefore the court could not compare them. Id. The

    plaintiffs also argued that under Metcalf, the court should not look at whether individual

    elements were protectable, but consider the elements when used in a particular sequence. Id.



    8       Fisher, 2000 U.S. App. LEXIS 1749 at *13-14; Singleton v. Dean, 611 F. App’x 671,
    672 (11th Cir. 2015); Nicassio v. Viacom Int’l, 309 F. Supp. 3d 381, 394-95 (W.D. Pa. 2018);
    Levi v. Twentieth Century Fox Film Corp., 2018 U.S. Dist LEXIS at *19 (E.D. Va. March 29,
    2018); Weber Luke Alliance, LLC v. Studio 1C Inc., 233 F. Supp. 3d 1245, 1254-55 (D. Utah
    2017); Ferman v. Jenlis, Inc., 224 F.Supp.3d 791, 807 (S.D. Iowa 2016); Clark v. Dashner, No.
    14-00965, 2016 U.S. Dist. LEXIS 92517 at *44 (D.N.M. June 30, 2016); Brown v. Twentieth
    Century Fox Home Entm’t, 2015 U.S. Dist. LEXIS 113560 at *37 (E.D. Ky. Aug. 27, 2015);
    Acker v. King, 46 F. Supp. 3d 168, 175 (D. Conn. 2014); Feldman v. Twentieth Century Fox
    Film Corp., 723 F. Supp. 2d 357, 367 (D. Mass. 2010); Randolph v. Dimension Films, 630 F.
    Supp. 2d 741, 749 (S.D. Tx. 2009); Zella v. E.W. Scripps Co., 529 F. Supp. 2d 1124 (C.D. Cal.
    2007).
    9       According to the Complaint, Stouffer produced over 70 hours of television, and of course
    this does not take into account the many hours of the four NatGeo Programs. (Compl. ¶ 34).


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           First, the court rejected the argument about needing to watch all the episodes, holding

    that it would essentially give the plaintiffs a “free pass to the summary judgment stage.” Id.

    Under plaintiffs’ theory, the court cautioned, a party alleging copyright infringement in ongoing

    works (i.e., book series or television series), could evade dismissal simply by alleging

    infringement of common elements by citing only a handful of specific examples. Id. The court

    went on to dismiss plaintiffs’ copyright claims, holding that

           [the] claimed similarities between Rachel Ray and Showbiz Chefs consist of
           randomly selected similarities of generic elements . . . . Plaintiffs cannot merely
           cobble them together to make a Metcalf argument. To do so would give Plaintiffs a
           monopoly over these generic elements expressed as a television talk show featuring
           celebrity guests and cooking.

    Id. (citing cases where “courts have been reluctant to expand this concept beyond the clear-cut

    case in Metcalf.”)10 As discussed in the Motion to Dismiss (see pp. 20-25), Stouffer attempts to

    do the exact same thing in this case as the plaintiffs did in Zella, asking the Court to ignore the

    clearly unprotectable individual elements alleged and “cobble them together,” giving him a

    monopoly over generic elements common to nature programs.




    10     Comparing this case to Metcalf, Stouffer alleges that NatGeo mimics “the structure of
    introducing an animal, tracking the animal, viewing the animal in conflict and providing
    information about that specific animal,” as well as featuring animals taking care of their young.
    (Compl., ¶¶ 174, 176). This is vastly different from the situation in Metcalf, which considered
    the copying of incredibly specific plot points of a scripted television show, e.g., (1) inner-city
    hospitals in Los Angeles (2) with main characters who were young, good looking, muscular
    black surgeons (3) who struggle with choosing between financial success and the emotional
    rewards of working in the inner city (4) and are involved in strained love triangles where (5) the
    main character and his original love interest are observed engaging in physical intimacy, and (6)
    whose hospitals are fighting with local politicians to remain accredited. It strains credulity to
    compare this type of wholesale copying to Stouffer’s claims of “two rams [that] head butt one
    another” and “voice-over narration by an iconic individual.” (Id.).


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            Another remarkably analogous case is ITN Flix, in which the plaintiff alleged that the

    defendant infringed plaintiff’s copyright in its film. ITN Flix, LLC, 2016 U.S. Dist. LEXIS

    152389 at *15. In support of its claim, the plaintiff alleged a number of similarities between the

    parties’ films, including that: (1) both films are a law enforcement officer who takes vengeance

    on a person who killed his wife and daughter, and who does so by obtaining information on the

    streets; (2) both films end with a scene between a priest and a bad man; and (3) the lead actor in

    both films is Danny Trejo.11 Despite these compelling similarities, the court still found that the

    plaintiff had failed to identify particular expressions that are protectable. “The [c]omplaint

    must contain factual allegations about protected expressions, not merely conclusions that the

    general plot ideas or characters have been duplicated.” Id. at *13.

           Stouffer cannot protect the idea of a nature program. “Indeed, where the protected work

    and the accused work express the same idea, the similarity that inevitably stems solely from the

    commonality of the subject matter is not proof of unlawful copying.’” Country Kids ‘N City

    Slicks, Inc., 77 F.3d at 1285 (citation omitted). All of the claimed similarities between the works

    at issue stem from the inherent commonalities in nature programs, such as widely-used devices

    and scènes à faire like “voice-over narration,” “segments of a nature program that focus on

    specific animals,” “slow-motion shots of wild animals,” and “two bighorn rams head-butting.”

    (Compl., ¶ 176 a, b, c and d.). Stouffer’s claims of infringement are wide-ranging and varied,


           11      Stouffer continues to assert that Casey Anderson, host of NatGeo’s America the
    Wild, looks “uncannily similar” to Marty Stouffer. (Resp. Br., p. 25). Putting aside the fact that
    the two look absolutely nothing alike, it is interesting to note that in ITN Flix, the court
    considered two programs which had the same lead actor and still found that to be insufficient to
    show copyright infringement.




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    and appear to be cherry-picked from different (and for the most part unspecified) NatGeo

    Programs, but they have one thing in common: none of them can possibly succeed under even

    the most generous reading of copyright law.

           No additional facts need to be developed for the Court to conclude that the alleged

    protectable elements are common to nearly all wildlife programming and absolutely not

    protectable by copyright. Accordingly, because none of the asserted elements are protectable,

    the Court does not need to apply the “abstraction-filtration-comparison” test, and can dismiss all

    of Stouffer’s copyright claims on this Rule 12 motion.

                                             CONCLUSION

           For the foregoing reasons, and those discussed in NatGeo’s Motion to Dismiss, NatGeo

    respectfully requests that the Court grant the instant motion and dismiss Stouffer’s Complaint in

    its entirety, with prejudice, pursuant to Federal Rule of Civil Procedure 12(b)(6).




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    Respectfully submitted this 27th day of March, 2019.


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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

     MARTY STOUFFER and                               )
     MARTY STOUFFER PRODUCTIONS, LTD;                 )
                                                      )
                     Plaintiffs,                      )
                                                      )
     v.                                               )     CASE NO. 1:18-cv-03127-WJM
                                                      )
     NATIONAL GEOGRAPHIC PARTNERS, LLC;               )
     NGSP, INC.;                                      )
     NGHT, LLC, d/b/a NATGEO                          )
      DIGITAL MEDIA;                                  )
     NGC NETWORK US, LLC; and                         )
     NGC NETWORK INTERNATIONAL, LLC;                  )
                                                      )
                      Defendants.                     )
                                                      )
                                                      )

                                     CERTIFICATE OF SERVICE

              I hereby certify that I have filed the foregoing DEFENDANTS’ REPLY MEMORANDUM

    IN SUPPORT OF THEIR RULE 12(b)(6) MOTION TO DISMISS PLAINTIFFS’ COMPLAINT

    with the Court’s CM/ECF system, which will automatically serve a copy upon all counsel of

    record.


              This 27th day of March, 2019.

                                              /s/ Jason D. Rosenberg
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                                              Colorado Bar
